     Case: 1:12-cr-00574 Document #: 36 Filed: 11/02/18 Page 1 of 2 PageID #:112



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHISN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

UNITED STATES,                                )
                                              )
                                              )
                                              )
                                              )
                                              )       Case No. 12 CR 574
v.                                            )
                                              )       Judge Dow
                                              )
NICHOLAS YACH,                                )
                                              )
Defendant.                                    )
                                              )

        DEFENDANT’S MOTION TO STAY RESTITUTION OBLIGATIONS

        Defendant, Nicholas Yach (“Mr. Yach”), by and through his undersigned CJA Panel

counsel, respectfully moves this Court for the entry of an Order staying his restitution

obligations:

        1. Mr. Yach was sentenced by this Court in October 2013. See Docket Nos. 30-31.

        2. This Court’s Sentencing Order includes a restitution obligation. Id. at No. 31.

        3. Mr. Yach was able to meet his restitution obligations until he lost his employment in

2017.

        4. Moreover, Mr. Yach has been diagnosed with Stage III pancreatic cancer.

        5. As a result, he is unable to work and was forced to apply for SSI benefits.

        6. Mr. Yach was awarded those benefits, and those benefits are his only source of

income.

        7. However, because of his restitution obligations in this case, those SSI benefits are

being withheld from him and taken for his restitution obligation.
     Case: 1:12-cr-00574 Document #: 36 Filed: 11/02/18 Page 2 of 2 PageID #:113



       8. Accordingly, Mr. Yach seeks the entry of an Order staying his restitution obligations.

       WHEREFORE, Defendant, Mr. Yach, by and through his undersigned counsel,

respectfully moves this Court for the entry of an Order staying his restitution obligations, and for

such other and further relief as is appropriate.



                                       RESPECTFULLY SUBMITTED,

                               By:     s/Michael I. Leonard
                                       Counsel for Mr. Yach


LEONARDMEYER, LLP
Michael I. Leonard
120 North LaSalle – 20th Floor
Chicago, Illinois 60602
(312)380-6659 (direct)
(312)264-0671 (fax)
mleonard@leonardmeyerllp.com



                               CERTIFICATE OF SERVICE

       The undersigned states that, on November 2, 2018, he caused the above document to be
served upon opposing counsel of record by ECF filing it.



                                               By:/s/ Michael I. Leonard




                                                   2
